Case 2:21-cv-19993-SDW-JRA
      Case 2:21-cv-19993 Document
                            Document
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                                Exhibit C
Case 2:21-cv-19993-SDW-JRA
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 From: Jack Saideh
 Sent: Wednesday, January 20, 2021 5:13 PM
 To: Gehrke, Albert <albert.gehrke@walgreens.com>
 Cc: James Trappani <Jtrappani@zeikos.com>; Laxamana, Loren <loren.laxamana@walgreens.com>
 Subject: Re: Deal Negotiation Approval Request: 027 GEHRKE ZEIKOS (099158) 001 Defective Merch
 Provision 2% defective merch allowance

 Hi albert
 See the attached

 Thanks & Regards
 Jack Saideh
 President/CEO
 Zeikos/ihip
 19 Progress St,Edison,NJ,08820
 www.zeikos.com



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 mail and destroy all copies of the original message.




 On Jan 20, 2021, at 4:56 PM, Gehrke, Albert <albert.gehrke@walgreens.com> wrote:



   Please review the following deal negotiation. Approve by replying to this email and
                         typing your name and the approval date.

  1    Category Manager                                                         027 GEHRKE
  2    Vendor Name and Number                                                ZEIKOS (099158)
  3    Deal Type, Sub-Type, or Business Purpose                       001 Defective Merch Provision
  4    Performance Period                                                 1/21/21 to 12/31/21
  5    Total Estimated Earnings                                                  $5,000.00
  6    Terms of Deal                                                  2% defective merch allowance
  7    Means of Collection                                                       Deduction
                                                                Vendor Wide - All items mapped to the CM &
  8    Billing Calculation Type
                                                                   vendor will be included in calculation




                                                  1
Case 2:21-cv-19993-SDW-JRA
      Case 2:21-cv-19993 Document
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  9      Billing Frequency                                                                                  Monthly
  10     Invoice Remarks                                                                          2% defective merch allowance

       Walgreens Notes
       2% defective merch allowance in lieu of any merchandise returns
       For Deal Team: System to Calculate = System, CM to Approve = No, Renewable Reminder = No, Select PO by Buy Date, Calculate Earnings by PO
       Receipt Amounts, Subtract PO Returns from Earnings = Yes




                                  Jack saideh                                         I agree to this deal                   1/20/2021
                                        Type Name                                                                                     Date




       ZEIKOS (099158) Notes




                                                                    2
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                                                   05/23/22
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                                                                            27 162




 From: Jack Saideh
 Sent: Wednesday, January 20, 2021 5:12 PM
 To: Gehrke, Albert <albert.gehrke@walgreens.com>
 Cc: James Trappani <Jtrappani@zeikos.com>; Laxamana, Loren <loren.laxamana@walgreens.com>
 Subject: Re: Deal Negotiation Approval Request: 027 GEHRKE ZEIKOS (099158) 055 Base Allowance 20%
 off Invoice deduction



 Thanks & Regards
 Jack Saideh
 President/CEO
 Zeikos/ihip
 19 Progress St,Edison,NJ,08820
 www.zeikos.com



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 On Jan 20, 2021, at 4:56 PM, Gehrke, Albert <albert.gehrke@walgreens.com> wrote:



   Please review the following deal negotiation. Approve by replying to this email and
                         typing your name and the approval date.

  1    Category Manager                                                        027 GEHRKE
  2    Vendor Name and Number                                               ZEIKOS (099158)
  3    Deal Type, Sub-Type, or Business Purpose                           055 Base Allowance
  4    Performance Period                                               1/21/21 to 12/31/2021
  5    Total Estimated Earnings                                              $2,000,000.00
  6    Terms of Deal                                                   20% off Invoice deduction
  7    Means of Collection                                                      Deduction
                                                               Vendor Wide - All items mapped to the CM &
  8    Billing Calculation Type
                                                                  vendor will be included in calculation




                                                  1
Case 2:21-cv-19993-SDW-JRA
      Case 2:21-cv-19993 Document
                            Document
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  9      Billing Frequency                                                                                Monthly
  10     Invoice Remarks                                                                    20% deduction for 010/saddle program

       Walgreens Notes
       20% off invoice deduction for 010/saddle placement
       For Deal Team: System to Calculate = System, CM to Approve = No, Renewable Reminder = No, Select PO by Buy Date, Calculate Earnings by PO
       Receipt Amounts, Subtract PO Returns from Earnings = Yes




                                   Jack saideh
                                                                                      I agree to this deal                     1/20/2021
                                        Type Name                                                                                     Date




       ZEIKOS (099158) Notes




                                                                    2
